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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   BEAUFORT DIVISION

Ted D. Ellis and Teresa Ellis,         )
                                       )
              Plaintiffs,              )
                                       )
       v.                              )           C/A No.: 9:19-cv-02163-RMG-MGB
                                       )
Cody Kirkman, Individually; Amber      )
Swinehammer, Individually; Lindsey     )
Gibson, Individually; Cody C. Kirkman, )
Amber Swinehammer, and Lindsey         )
Gibson, as agents/officers of Town of )
Bluffton Police Department; and Town )
Bluffton Police Department,            )
                                       )
              Defendants.              )
________________________________ )

                                   ______________________

                                      STATUS REPORT
                                   ______________________

            The undersigned counsel confirmed through telephonic consultation with Assistant

United States Attorney Kyle Boyton of the United States Department of Justice, Washington

DC office, that as of today’s date, no prosecutorial decision has been made in this matter.

AUSA Boyton advised that a staffing of the case for final recommendations is eminent and

that he would advise of the outcome at his earliest opportunity once a decision is made.

The reasons set forth in support of the Motion and Order to Stay remain unchanged to

date. A final decision on the direction of the investigation is expected soon.




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                                     Respectfully submitted,

                                     LAW OFFICE OF CHRISTY L. SCOTT, LLC

                               By:   s/Christy L. Scott
                                     Christy L. Scott, Fed. ID No. 6215
                                     Post Office Box 1515, 108 Carn Street
                                     Walterboro, SC 29488
                                     (843) 782-4359
                                     Email: cscott@lawofficeofchristyscott.com

                                     ATTORNEY FOR DEFENDANTS
                                     Cody C. Kirkman, Individually and as an Officer
                                     of Town of Bluffton Police Department; Amber
                                     Swinehamer,           (mistakenly         spelled
                                     Swinehammer), Individually and as an Officer of
                                     Town of Bluffton Police Department; former
                                     Bluffton police officer Lindsey Gibson, sued
                                     individually and as a former police officer of the
                                     Bluffton Police Department and the Town of
                                     Bluffton Police Department

February 18, 2022

Walterboro, South Carolina




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